Case 1:21-cv-20521-BB Document 76-28 Entered on FLSD Docket 03/07/2022 Page 1 of 3

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FILE NO. 69057.144660
March 23, 2020

VIA FINRA DR PORTAL

Donna Greenspan Solomon, Esq., Chair

c/o Lisa Lasher, FINRA Case Administrator
FINRA Dispute Resolution

Boca Center, Tower |

5200 Town Center Circle, Suite 200

Boca Raton, Florida 33486

Re: — Beverley B. Schottenstein v. J.P. Morgan Securities, LLC, et al.
FINRA Arbitration No. 19-02053
Opposition of Beverley Schottenstein ("'Claimant'') to the
Motion for Issuance of Subpoenas by Evan Schottenstein
and Avi Schottenstein (''Respondents'')

Dear Ms. Solomon:

Claimant objects to the Respondents’ request for the issuance of two proposed
subpoenas, one directed to American Express Company ("American Express") and one directed
to J.P. Morgan Chase Bank, N.A. ("Chase Bank"). The request for the issuance of the two
subpoenas is based upon untrue allegations made in Evan Schottenstein's answer to the
statement of claim. More importantly, the documents sought by the two subpoenas constitute
an overly broad fishing expedition into Claimant's personal financial affairs and seek the
production of documents that have nothing whatsoever to do with the issues in this case.

The allegations in Evan Schottenstein's answer that Alexis Schottenstein, his cousin, has
taken control over Claimant, is keeping Claimant away from family members and is in control
of this arbitration case on behalf of Claimant are, plainly and simply, false. The other
allegations in Evan Schottenstein's answer that are also false include the following:

a. After the 2018 holidays, Alexis Schottenstein moved into Claimant's apartment;

b. Alexis Schottenstein changed the locks on Claimant's apartment;

c, Alexis Schottenstein walled off Claimant from family members;
 

Case 1:21-cv-20521-BB Document 76-28 Entered on FLSD Docket 03/07/2022 Page 2.of 3

Donna Greenspan Solomon, Esq., Chair
March 23, 2020

 

Page 2
d. Alexis Schottenstein blocked telephone calls;
é. Alexis Schottenstein had Claimant's telephone number changed;
f. Alexis Schottenstein became instrumental in drafting and sending complaints to

JPMorgan; and
g. Alexis Schottenstein became instrumental in finding attorneys for Claimant.

Moreover, the documents sought by the two proposed subpoenas have nothing
whatsoever to do with those false allegations. What Alexis Schottenstein charged on a credit
card account of Claimant's has nothing whatsoever to do with the above-described false
allegations and has nothing whatsoever to do with any of the issues in this case. Claimant has
made no claim of elder exploitation with respect to any use made by Alexis Schottenstein of any
of her credit cards.

The time period covered by the proposed subpoena addressed to American Express is
from January 1, 2009, to present. Respondents seek the production of all account statements, all
communications, all phone records and other categories of documents for an eleven year time
period,

If the documents that Respondents claim are discoverable from American Express
pertain to Alexis Schottenstein making significant, unauthorized charges on a credit card issued
by American Express to Alexis Schottenstein and tied to Claimant's American Express account,
then all Respondents need to have American Express produce is account statements for the card
American Express issued to Alexis Schottenstein. Respondents do not need and are not entitled
to see charges made by Claimant on the American Express card issued to her. Claimant's
counsel has confirmed with a representative of American Express that for each card issued that
is tied to an account in the name of a person and that person authorizes the issuance of cards to
other family members, the last four digits of each card issued to a family member are different.

Just as Respondents’ request for all account statements associated with Claimant is
overly broad and invasive, so are the requests for documents set forth in paragraphs 1, 3, 4, 6, 7,
and 8. The documents those paragraphs seek include all of Claimant's account documents, all
communications with Claimant, records or recordings of all telephone calls with Claimant, all
documents concerning any investigations conducted by American Express, and all complaints
made by Claimant. These overly broad categories of documents are invasive and irrelevant to
the issues in this case.
Case 1:21-cv-20521-BB Document 76-28 Entered on FLSD Docket 03/07/2022 Page 3 of 3

Donna Greenspan Solomon, Esq., Chair
March 23, 2020
Page 3

 

The eight paragraphs of the proposed subpoena directed to Chase Bank are the same as
the eight paragraphs in the proposed subpoena to American Express. Rather than reiterate the
arguments set forth above with respect to the American Express subpoena, Claimant adopts
them in opposing the issuance of the subpoena directed to Chase Bank.

Based on the foregoing argument, Claimant requests that the Chairperson deny the

motion by Respondents for the issuance of the two proposed subpoenas directed to American
Express and Chase Bank.

Sincerely,

JOHNSON, POPE, BOKOR,
RUPPEL/& B 5 LLP

  
    

ott C. Ilgenfritz

SCI/dh

cc: Jonathan J. Brennan, Esq. (via FINRA DR Portal)
Gabrielle L. Gould, Esq. (via FINRA DR Portal)

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